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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

BERKELEY VENTURES II, LLC,          §
                                    §
     Plaintiff,                     §
                                    §
v.                                  §                Civil Action File No.:
                                    §                1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION           §
and RONALD D. HERMAN                §
                                    §
     Defendants.                    §
____________________________________§

         NON-PARTY STARBUCKS CORPORATION’S OBJECTIONS TO
          PLAINTIFF BERKELEY VENTURES II, LLC’S THIRD-PARTY
         SUBPOENA TO PRODUCE DOCUMENTS OR OBJECTS OR TO
            PERMIT INSPECTION OF PREMISES IN A CIVIL TRIAL

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure, non-party

Starbucks Corporation (“Starbucks”), by and through its attorneys Hawkins Parnell

& Young LLP, states its objections to Plaintiff Berkeley Ventures II, LLC’s Third-

Party Subpoena to Produce Documents or Objects or to Permit Inspection of

Premises in a Civil Trial (the “Subpoena”) and shows the Court as follows:

                           PRELIMINARY STATEMENT

        These objections and responses are made solely for the purpose of, and in

relation to, the above-titled action. Each response is given subject to all appropriate

objections (including but not limited to objections concerning relevancy, materiality,
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and propriety) which would require the exclusion of any statement contained herein

if made by a witness present and testifying in court. All such objections and grounds

thereof are reserved and may be interposed at a later time.

        Starbucks has not completed its factual and legal investigation and expressly

reserves the right to continue its discovery and investigation for facts, witness, and

supplemental date which may reveal information, which if presently within its

knowledge and relevant to the above titled-action, would have been included in these

objections and responses. Accordingly, the answers and objections set forth below

represent only information currently known following a reasonable investigation in

responding to these Requests with the limited time and resources available.

                              GENERAL OBJECTIONS

        Starbucks hereby objects to each individual Request set forth herein, on the

following grounds:

        1.    Starbucks objects to the Requests to the extent that they purport to

require production of documents that are: (i) publicly available; (ii) within either

Plaintiff or Defendants’ possession, custody, or control; (iii) available from sources

to which Plaintiff has equal access; or (iv) obtainable from some other source that is

more convenient, less burdensome, or less expensive. Starbucks further objects to

the Requests to the extent that they purport to request the production of documents


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or things not within its’ possession, custody, or control.

        2.    Starbucks objects to the Plaintiff’s Requests to the extent they seek

electronically stored information from deleted files or files that exist on backup tapes

and/or any other electronically stored information that is not in a reasonably

accessible format, including, but not limited to, voice-mails, PDAs, and mobile

phones. Any response to the Plaintiff’s Requests is not a concession to produce any

electronically stored information that is not in a reasonably accessible format.

        3.    Starbucks objects to the extent the Requests purport to require

preservation and/or production of electronically store information (“ESI”) which is

contained on systems that are no longer in active use and, therefore, are not part of

its’ normal business operations.

        4.    Starbucks objects to the extent that Plaintiff’s Requests are unlimited

in time and scope and disproportionate to the underlying allegations in above-titled

matter.

        5.    Starbucks objects to the definition of “you,” “your” or “Starbucks” to

the extent it includes persons or entities for whom Starbucks is not obligated to

respond under the Federal Rules of Civil Procedure.

        6.    Subject to the foregoing Preliminary Statement and General

Objections, which are hereby incorporated by reference into each individual


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response below, and without waiving the same, Starbucks responds as follows to the

Requests:

                          OBJECTIONS TO REQUESTS

        REQUEST NO. 1. Any and all emails, correspondence, contracts or

documentation referring, relating, or referencing Sionic Mobile.

        OBJECTION:         Starbucks incorporates its Preliminary Statement and

General Objections herein, in particular its General Objection number 1, herein.

Starbucks further objects to the Request as overly broad, unduly burdensome,

irrelevant, and not reasonably calculated to lead to the discovery of admissible

evidence in the above-titled action in that it seeks documents pertaining to issues

unrelated to any allegations concerning Starbucks in Plaintiff’s Complaint.

        Specifically, the only allegations related to Starbucks in Plaintiff’s Complaint

pertain to alleged misrepresentations that Defendants Sionic Mobile Corporation and

Ronald D. Herman made to Plaintiff concerning a specific number of Starbucks

“users” the company may have had. This information is more readily available from

Defendants. It would be a tremendous burden and imposition on Starbucks to try to

locate this information because of its overly broad scope. Further, the costs of such

a search to non-party Starbucks is in no way proportional to the benefits that might

accrue the parties.


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        By way of further response, Starbucks states that a preliminary and cursory

search of the most likely repository for a contract has found no such documentation.

Based on the underlying Complaint, Starbucks determined that the relevant team is

the global-card-commerce-and-payment team, which has been unable to locate any

pertinent records.

        REQUEST NO. 2. Any and all documentation showing stored value,

customer loyalty or customer number/lists of Starbucks related to Sionic

Mobile.

        OBJECTION:         Starbucks incorporates its Preliminary Statement and

General Objections herein, in particular its General Objection number 1, herein.

Starbucks further objects to the Request as overly broad, unduly burdensome,

irrelevant, and not reasonably calculated to lead to the discovery of admissible

evidence in the above titled-action in that it seeks documents pertaining to issues

unrelated to any allegations concerning Starbucks in Plaintiff’s Complaint.

        Specifically, the only allegations related to Starbucks in Plaintiff’s Complaint

pertain to alleged misrepresentations that Defendants Sionic Mobile Corporation and

Ronald D. Herman made to Plaintiff concerning a specific number of Starbucks

“users” the company may have had. This information is more readily available from

Defendants. It would be a tremendous burden and imposition on Starbucks to try to


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locate this information because of its overly broad scope. Further, the costs of such

a search to non-party Starbucks is in no way proportional to the benefits that might

accrue the parties.

        REQUEST NO. 3. The materials given to Starbucks in associated with

solicitation by Sionic Mobile to enter into a contractual relationship.

        OBJECTION:         Starbucks incorporates its Preliminary Statement and

General Objections herein, in particular its General Objection number 1, herein.

Starbucks further objects to the Request as overly broad, unduly burdensome,

irrelevant, and not reasonably calculated to lead to the discovery of admissible

evidence in the above-titled action in that it seeks documents pertaining to issues

unrelated to any allegations concerning Starbucks in Plaintiff’s Complaint.

        Specifically, the only allegations related to Starbucks in Plaintiff’s Complaint

pertain to alleged misrepresentations that Defendants Sionic Mobile Corporation and

Ronald D. Herman made to Plaintiff concerning a specific number of Starbucks

“users” the company may have had. This information is more readily available from

Defendants. It would be a tremendous burden and imposition on Starbucks to try to

locate this information because of its overly broad scope. Further, the costs of such

a search to non-party Starbucks is in no way proportional to the benefits that might

accrue the parties.


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        By way of further response, Starbucks states that a preliminary and cursory

search of the most likely repository for a solicitation to contract has found no such

documentation. Based on the underlying Complaint, Starbucks determined that the

relevant team is the global-card-commerce-and-payment team, which has been

unable to locate any pertinent records.

        REQUEST NO. 4. Any payments made to Sionic Mobile from Starbucks

and/or payments made from Sionic Mobile to Starbucks.

        OBJECTION:         Starbucks incorporates its Preliminary Statement and

General Objections herein, in particular its General Objection number 1, herein.

Starbucks further objects to the Request as overly broad, unduly burdensome,

irrelevant, and not reasonably calculated to lead to the discovery of admissible

evidence in the above-titled action in that it seeks documents pertaining to issues

unrelated to any allegations concerning Starbucks in Plaintiff’s Complaint.

        Specifically, the only allegations related to Starbucks in Plaintiff’s Complaint

pertain to alleged misrepresentations that Defendants Sionic Mobile Corporation and

Ronald D. Herman made to Plaintiff concerning a specific number of Starbucks

“users” the company may have had. This information is more readily available from

Defendants. It would be a tremendous burden and imposition on Starbucks to try to

locate this information because of its overly broad scope. Further, the costs of such


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a search to non-party Starbucks is in no way proportional to the benefits that might

accrue the parties.

        REQUEST NO. 5. Any and all promotional offers, customer rewards or

other benefits made by Starbucks to its customers involving Sionic Mobile.

        OBJECTION:         Starbucks incorporates its Preliminary Statement and

General Objections herein, in particular its General Objection number 1, herein.

Starbucks further objects to the Request as overly broad, unduly burdensome,

irrelevant, and not reasonably calculated to lead to the discovery of admissible

evidence in the above-titled action in that it seeks documents pertaining to issues

unrelated to any allegations concerning Starbucks in Plaintiff’s Complaint.

        Specifically, the only allegations related to Starbucks in Plaintiff’s Complaint

pertain to alleged misrepresentations that Defendants Sionic Mobile Corporation and

Ronald D. Herman made to Plaintiff concerning a specific number of Starbucks

“users” the company may have had. This information is more readily available from

Defendants. It would be a tremendous burden and imposition on Starbucks to try to

locate this information because of its overly broad scope. Further, the costs of such

a search to non-party Starbucks is in no way proportional to the benefits that might

accrue the parties.




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                      ARGUMENTS AND AUTHORITIES

        Plaintiff’s discovery requests are properly objected because they seek

information outside the scope of discovery. Federal Rule of Civil Procedure 26 limits

the scope of discovery to matters that are relevant to a claim or defense and

proportional to the needs of the case. FED. R. CIV. P. 26(b)(1). The purpose of Rule

26 is to “encourage judges to be more aggressive in identifying and discouraging

discovery overuse.” FED. R. CIV. P. 26(b) advisory committee note. “The court must

apply the standards in an even-handed manner that will prevent use of discovery to

wage a war of attrition or as a device to coerce a party, whether financially weak or

affluent.” Id. Accordingly, courts “must limit the frequency or extent of proposed

discovery, on motion or on its own, if it is outside the scope permitted by Rule

26(b)(1).” Id.

        If the Court finds the proposed discovery is outside the scope permitted by

Rule 26(b)(1), then “the court must limit the frequency or extent of discovery

otherwise allowed . . . .” FED. R. CIV. P. 26(b)(2)(C)(iii) (emphasis added); see also

Northfield Ins. Co. v. Fun-Fare Enters, Inc., No. 1:16-CV-02806-ELR, 2017 WL

11503870 at *1 (N.D. Ga. May 3, 2017) (“Where the discovery sought falls outside

the scope detailed above, the Court must limit the discovery”).

        In addition, a district court generally must quash or modify a subpoena that


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seeks privileged or protected matter or that subjects a person to undue burden. FED.

R. CIV. P. 45(d)(3)(A); see also FED. R. CIV. P. 45(d)(1) (imposing an affirmative

obligation to avoid causing an undue burden or unnecessary expense when issuing

subpoenas). 1 The Court has discretion to enter a protective order upon a showing of

good cause, and it may do so to protect a party from annoyance, embarrassment,

oppression, undue burden or expense, or to avoid disclosing confidential commercial

information. FED. R. CIV. P. 26(c)(1), 45(c)(1), 45(d)(3)(B). In doing so, the Court

can forbid the discovery in its entirety or restrict it to certain matters. FED. R. CIV. P.

45 (c)(1).

        The Court should deny a duplicate request for those records from a third party.

See, e.g., Abhe & Svoboda, Inc. v. Hedley, No. 15-CV-1952, 2016 WL 11509914, at

*4 (D. Minn. Mar. 15, 2016) (denying duplicative third-party discovery under Rule

26 because obtaining the opposing party’s complete file was “more convenient, less

burdensome, and less expensive than the discovery sought through the third-party

subpoena”). Here, Plaintiff seeks to impose burdens on a non-party, Starbucks, when


1
 Typically, a party must demonstrate a “personal right or privilege” in the requested
documents to quash a subpoena served on a third party under Federal Rule of Civil
Procedure 45. Agilysys, Inc. v. Hall, No. 1:16-CV-03557-ELR, 2018 WL 1229990
at *4 (N.D. Ga. Jan. 11, 2018). However, that is not required for a motion to quash
discovery requests that are outside the scope of discovery under Rule 26(b). Id.
(noting that “Rule 26 provides an alternative basis for protecting information that is
not relevant to the litigation”).
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it could get that same information from a party. Accordingly, based on the foregoing,

Starbucks objects to the Plaintiff’s revised second subpoena, dated April 15, 2021, 2

and asks that the Court sustain its objections.

        Respectfully submitted, this 29th day of April, 2021.

                                         HAWKINS PARNELL & YOUNG LLP

                                         /s/ Carl H. Anderson, Jr.
                                         Kimberly D. Stevens
                                         Georgia Bar No. 680747
                                         Carl H. Anderson, Jr.
                                         Georgia Bar No. 016320

                                         Attorneys for Non-Party Subpoenant
                                         Starbucks Corporation

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            canderson@hpylaw.com




2
 Plaintiff served his first subpoena, dated February 22, 2021, which it later withdrew
on March 12, 2021 [ECF 95].
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

BERKELEY VENTURES II, LLC,          §
                                    §
     Plaintiff,                     §
                                    §
v.                                  §                Civil Action File No.:
                                    §                1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION           §
and RONALD D. HERMAN                §
                                    §
     Defendants.                    §
____________________________________§

                          CERTIFICATE OF COUNSEL

        The undersigned hereby certifies that he has prepared the within and foregoing

document in accordance with LR 5.1, NDGa, and LR 7.1(D), NDGa. Specifically,

counsel certifies that he has used 14 point Times New Roman as the font in these

documents.

        Respectfully submitted, this 29th day of April, 2021.

                                        HAWKINS PARNELL & YOUNG LLP

                                        /s/ Carl H. Anderson, Jr.
                                        Kimberly D. Stevens
                                        Georgia Bar No. 680747
                                        Carl H. Anderson, Jr.
                                        Georgia Bar No. 016320

                                        Attorneys for Non-Party Subpoenant
                                        Starbucks Corporation
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

BERKELEY VENTURES II, LLC,          §
                                    §
     Plaintiff,                     §
                                    §
v.                                  §               Civil Action File No.:
                                    §               1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION           §
and RONALD D. HERMAN                §
                                    §
     Defendants.                    §
____________________________________§

                          CERTIFICATE OF SERVICE

        This is to certify that I have this day served opposing counsel in the above-

reference matter with a copy of the within and foregoing NON-PARTY

STARBUCKS           CORPORATION’S           OBJECTIONS          TO     PLAINTIFF

BERKELEY VENTURES II, LLC’S THIRD-PARTY SUBPOENA TO

PRODUCE DOCUMENTS OR OBJECTS OR TO PERMIT INSPECTION OF

PREMISES IN A CIVIL TRIAL by electronic filing and/or by placing a copy of

same in the United States Mail with proper postage thereon and addressed as follows:

                                Counsel for Plaintiff

                             Jason Brian Godwin, Esq.
                                Godwin Law Group
                           3985 Steve Reynolds Boulevard

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         Respectfully submitted, this 29th day of April, 2021.

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                                         /s/ Carl H. Anderson, Jr.
                                         Kimberly D. Stevens
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                                         Starbucks Corporation

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